
PER CURIAM.
Petitioner’s original direct appeal from a judgment and sentence imposed upon conviction of rape was frustrated by an untimely filed notice of appeal by court appointed counsel.
We grant petitioner a belated review of the judgment and sentence equivalent to a direct appeal by means of this habeas corpus proceeding. Henninger v. State, Fla. 1970, 230 So.2d 149.
We have heard and considered oral argument of counsel for the respective par*825ties, examined the briefs and record, and conclude that petitioner has failed to demonstrate reversible error. Accordingly, the judgment and sentence is affirmed and habeas corpus denied.
Habeas corpus denied.
REED, C. J., CROSS, J., and WHITE, JOSEPH S., (Ret.), Associate Judge, concur.
